                 [ORAL ARGUMENT NOT YET SCHEDULED]

                                   No. 25-5124

                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                   J.G.G., et al.,

                               Plaintiffs–Appellees,

                                         v.

                DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                   PRESIDENT OF THE UNITED STATES, et al.,

                        Defendants–Appellants.
 _________________________________________________________________

                 On Appeal from the United States District Court
                         for the District of Columbia
                              No. 1:25-cv-00766
                         The Hon. James E. Boasberg


        MOTION TO SUPPLEMENT THE RECORD ON APPEAL OR
        ALTERNATIVELY REMAND FOR FURTHER FACT FINDING


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                                  INTRODUCTION

         Plaintiffs–Appellees (“Plaintiffs”) continue to press their argument that the

appeal should be dismissed because this Court lacks jurisdiction. See Pls.’ Mot. to

Dismiss Appeal & Response in Opp. to Emergency Mot. for a Stay Pending Appeal

at 12–23.

         If this Court does not dismiss the appeal, Plaintiffs respectfully move to

supplement the record on appeal. See Section I. Alternatively, Plaintiffs request that

the Court remand the case to the district court to allow it to supplement the record

and engage in any appropriate additional fact finding. See Section II.

    I.      SUPPLEMENTATION OF THE RECORD ON APPEAL IS IN THE
            INTERESTS OF JUSTICE.
         Plaintiffs seek to supplement the record on appeal with the attached

documents containing text messages and emails disclosed by whistleblower Erez

Reuveni, former Acting Deputy Director for the Department of Justice (DOJ) Office

of Immigration Litigation (OIL). Exs. A, B. 1 Plaintiffs previously filed Mr.




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  Plaintiffs have provided excerpted documents related to this matter from the July
1, 2025 Addendum to the June 24, 2025 Protected Whistleblower Disclosure of Mr.
Erez Reuveni Submitted Pursuant to 5 U.S.C. § 2302 and 5 U.S.C. § 1213, see Ex.
A, and the July 7, 2025 Addendum to the June 24, 2025 Protected Whistleblower
Disclosure of Mr. Erez Reuveni Submitted Pursuant to 5 U.S.C. § 2302 and 5 U.S.C.
§ 1213, see Ex. B. Plaintiffs have excluded documents Mr. Reuveni provided in these
addenda that are primarily related to other litigation. Citations to page numbers are
citations to the page numbers in the original documents.

                                           1
Reuveni’s initial whistleblower disclosure pursuant to Federal Rule of Appellate

Procedure 28(j).2

      Supplementation of the record here is in the interests of justice. Colbert v.

Potter, 471 F.3d 158, 165–66 (D.C. Cir. 2006). As described below, the emails, text

messages, and telephone log disclosed by Mr. Reuveni provide significant further

support for the facts recounted in Mr. Reuveni’s whistleblower disclosure and for

the district court’s finding that “probable cause exists to find the Government in

criminal contempt” because “the Government’s actions on that day demonstrate a

willful disregard for” the district court’s March 15 temporary restraining order. Dist.

Ct. Dkt. 81 at 1. Among other things, an email thread including nine DOJ email

addresses titled “AEA Litigation Team – case updates” shows DOJ attorneys’ clear

contemporaneous understanding that the injunction prevented their clients from

deplaning individuals subject to the Alien Enemies Act (“AEA”). 3




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  If the Court believes that supplementation of the record is preferable to considering
Mr. Reuveni’s initial whistleblower disclosure pursuant to Fed. R. App. P. 28(j),
Plaintiffs respectfully request that the Court also supplement the record with the
initial whistleblower disclosure for the reasons stated in this motion.
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  The government’s response to Plaintiffs’ prior submission of the whistleblower
complaint stated that “[i]t is a set of allegations . . . that the Government forcefully
denies,” Doc. 2122523 (filed June 26, 2025) at 2, yet the government has, thus far,
successfully blocked the district court’s efforts to find underlying facts that provide
corroboration for the allegations—such as the corroborating facts in these
documents.

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      A. Email Thread Showing DOJ Attorneys’ Clear Contemporaneous
         Understanding that the TRO Barred the Government from
         Deplaning Individuals Subject to the AEA

      The new disclosures provide a series of emails in a thread titled “AEA

Litigation Team – case updates” sent on March 15 and March 16, 2025, apparently

among Mr. Reuveni, eight other @usdoj.gov email addresses, five @ice.dhs.gov

addresses, seven @state.gov addresses, and three @hq.dhs.gov addresses. Ex. A-3

at 9–13; Ex. A-4 at 14–22; Ex. A-5 at 23–25.4 The thread demonstrates that DOJ

attorneys clearly understood the injunction to prevent “deplan[ing]” any individual

“subject to an AEA removal” and to require “return[ing] those individuals to the

United States.” Ex. A-5 at 24; see also Ex. A-4 at 15 (“Please confirm asap no one

lacking a title 8 final order will be taken off these planes when they land. We need

to address this asap to avoid contempt.”). That interpretation was consistently

expressed by Mr. Reuveni from Saturday, March 15, at 6:48 PM, to Sunday, March

16, at 8:07 AM, as detailed below.

      The email thread shows that Mr. Reuveni, the then-Acting Deputy Director

for DOJ OIL and a member of the AEA litigation team, inquired six times between


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  The thread is splintered into multiple parts and therefore appears in three separate
exhibits. Some of the emails do not include the “@agency.gov” ending to the email
addresses but instead have fully redacted addresses. However, the emails
consistently include either twenty-three or twenty-four email addresses (with one
@ice.dhs.gov email address sometimes omitted), the subject line is consistent, and
the emails appear to all be REPLY-ALLs to the same thread. Ex. A-3 at 9–13; Ex.
A-4 at 14–22; Ex. A-5 at 23–25.

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Saturday, March 15, at 6:44 PM and Sunday, March 16, at 8:07 AM about the status

of individuals subject to the AEA who were on flights that were in the air during the

TRO hearing. Ex. A-4 at 19 (Mar. 15, 6:44 PM); Ex. A-4 at 18 (Mar. 15, 6:46 PM);

Ex. A-4 at 15 (Mar. 15, 6:53 PM); Ex. A-3 at 10 (Mar. 15, 7:04 PM); Ex. A-4 at 15

(Mar. 15, 7:18 PM); Ex. A-5 at 24 (Mar. 16, 8:07 AM).

      The final email on the thread indicates that Mr. Reuveni did not receive a

response to this inquiry for over 13 hours, because Mr. Reuveni repeats the same

question. Ex. A-5 at 24. There is no indication in the emails that anyone on the thread

ever directly responded to Mr. Reuveni’s requests for information about the status of

individuals on the departed flights, other than to note at 6:50 PM that the flights were

in the air. The thread includes:

   • An email from Mr. Reuveni to eight other @usdoj.gov email addresses, four

      @ice.dhs.gov addresses, seven @state.gov addresses, and three @hq.dhs.gov

      addresses sent Saturday, March 15, at 6:44 PM under “high” importance. The

      email states: “The judge is presently issuing a class-wide TRO. Can folks

      confirm for us if at the moment any individuals subject to the AEA are being

      staged for removal, or are presently in the air as part of removal (but not yet

      having landed and disembarked)?” Ex. A-4 at 18–19. This email indicates a

      contemporaneous understanding from Mr. Reuveni, the then-Acting Deputy

      Director for DOJ OIL, that whether individuals were “presently in the air as


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  part of removal but” had “not yet . . . landed and disembarked” was relevant

   to TRO compliance.

• An email from Mr. Reuveni to what appear to be the same individuals, sent

   Saturday, March 15, at 6:46 PM: “The class is ‘all noncitizens in US custody

   subject to the AEA’ a minute order with more specifics will issue. Please

   confirm receipt of this email and let us know ASAP on the questions below

   concerning removals not yet effectuated, including those involving folks in

   the air.” Ex. A-4 at 18. This email shows that Mr. Reuveni viewed “folks in

   the air”—that is, from the 6:44 PM email, individuals who had “not yet . . .

   landed and disembarked”—as “removals not yet effectuated.”

• An email from Mr. Reuveni to what appear to be the same individuals, in a

   reply with the same subject line, sent Saturday, March 15, at 6:48 PM: “Sorry

   for all the emails. Last email: the judge specifically ordered us to not remove

   anyone in the class, and to return anyone in the air.” Ex. A-4 at 17–18.

• An email from an @ice.dhs.gov address to what appear to be the same

   individuals, sent Saturday, March 15, at 6:50 PM: “Two flights departed at

   about 5:15 and 5:45. They are still in the air.” Ex. A-4 at 16–17.

• An email from a redacted email address to what appear to be the same

   individuals, sent Saturday, March 15, at 6:53 PM: “Just confirmed on the

   ground that the Title 50 folks [individuals subject to the AEA] on the third


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   flight are being pulled off.” Ex. A-4 at 15–16. This email appears to be

   referring to individuals subject to the AEA who were already loaded onto the

   third flight, which had not yet left, being taken off the airplane in the United

   States before departure due to the Court’s order.

• An email from Mr. Reuveni to what appears to be the same email thread, sent

   Saturday, March 15, at 6:53 PM: “Thanks. And the two flights in the air?” Ex.

   A-4 at 15.

• An email from Mr. Reuveni to what appear to be the same individuals, sent

   Saturday, March 15, at 7:04 PM: “As we await the written order, clarifying

   our understanding of the injunction as clarified at the end. No one subject to

   AEA in our custody can be removed. And anyone in the air should be returned,

   unless they have a title 8 final order. Please confirm receipt and let us know

   what if anything is happening.” Ex. A-3 at 10.

• An email from Mr. Reuveni to what appears to be the same email thread, sent

   Saturday, March 15, at 7:18 PM: “All plaintiffs have reached out about the

   flights. Please confirm asap no one lacking a title 8 final order will be taken

   off these planes when they land. We need to address this asap to avoid

   contempt. It in particular [sic] the flight landing in three minutes. Please

   advise.” Mr. Reuveni then listed the following information: “GXA flight 6143

   does not appear to land until 7:20 pm eastern.; GXA flight 6145 has about at


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   least another hour in flight.; GXA flight 6122 has not yet left Harlingen.” Ex.

   A-4 at 15.

• An email from Mr. Reuveni to what appear to be the same individuals, sent

   Saturday, March 15, at 7:27 PM, states “Here is the minute order” and copy-

   pastes the minute order’s text. Ex. A-4 at 15.

• An email from Mr. Reuveni to what appear to be the same individuals, sent

   Sunday, March 16, at 8:07 AM, marked high importance, states in relevant

   part: “[F]ollowing up on several different emails including the below and

   merging into one place. Can we please get an update on the status of

   compliance with the injunction, consistent with the earlier emails and

   guidance from us below? Specifically, can you confirm the status of the three

   flights referenced below, and the status of the individuals that are on each of

   the flights? As a reminder our advice here on injunction compliance was to

   not deplane anyone from these planes who is subject to an AEA removal,

   although it was permissible to deplane individuals with Title 8 orders, and

   otherwise return those individuals to the United States. We need to confirm

   quickly status so we can update the court if necessary. Relatedly, to the extent

   conversations on these issues are occurring at a higher level within your

   leadership and ours, can you please confirm that?” Ex. A-5 at 24.




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The emails do not contain any disagreement or questioning from any other

government official as to the interpretation of the injunction to prevent deplaning or

as to the relevance of inquiries about whether individuals on the flights had been

deplaned. One of the email addresses on the thread was for August Flentje, then-

Acting Director for OIL and Mr. Reuveni’s direct supervisor. See, e.g., Ex. A-3 at

10.

      The district court found significant that “although Defendants now seek to

muddy the waters, at no point on Saturday evening . . . did the Government so much

as hint that it was not ‘clear . . . precisely what action [was] proscribed.’ . . . Only

now does the Government suggest that the Court ordered something less than what

it unequivocally stated in the hearing.” Dist. Ct. Dkt. 81 at 42–43 (citation omitted).

The district court particularly noted as “telling” that “the Government never

contacted the Court with any questions about the injunctions’ scope” despite

“ha[ving] been in regular email contact with chambers throughout the day.” Id. at

42. Similarly, it is telling that on a litigation thread titled “AEA Litigation Team –

case updates,” for more than 13 hours the OIL Acting Deputy Director consistently

stated that the injunction prevented deplaning, requested status updates on the

individuals on the flights, and apparently received no response.




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         B. Additional Relevant Disclosures

         Additional emails, text messages, and a phone log disclosed by Mr. Reuveni

are relevant to discussions between Judge Boasberg and DOJ counsel about what

counsel knew about the AEA flights and who made the decision not to return the

detainees. Ex. A-1 at 1–2; Ex. A-2 at 3–8; Ex. A-6 at 26–27; Ex. A-7 at 27–28; Ex.

A-11 at 80–81; Ex. B-1 at 1–4.

                                          ***

         In sum, the emails and text messages disclosed by Mr. Reuveni are significant

newly discovered information that provides further support for the district court’s

finding of probable cause, and supplementation of the record on appeal is therefore

in the interests of justice.

   II.      ALTERNATIVELY, REMAND TO THE DISTRICT COURT IS
            WARRANTED.
         Alternatively, remand to the district court for supplementation of the factual

record and further fact finding is warranted. Cf. Colbert, 471 F.3d at 165–66. As

detailed above, the newly disclosed documents shed significant light on the events

at issue here. Fairness and judicial efficiency are served by making them part of the

record.




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                                   CONCLUSION

      The Court should dismiss the appeal for lack of jurisdiction. If it does not do

so, it should supplement the record with Plaintiffs’ Exhibits or, alternatively, remand

for supplementation of the factual record in the district court.



Date: July 17, 2025                         Respectfully submitted,

                                            /s/ Lee Gelernt
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                   CERTIFICATE OF COMPLIANCE

1. This brief complies with the type-volume limitation of Fed. R. App. P.

   27(d)(2) because it contains 2,262 words.

2. This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

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   prepared in a proportionally spaced and easy-to-read typeface using Microsoft

   Word in 14-point size font.

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                                          July 17, 2025
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                        CERTIFICATE OF SERVICE

      I hereby certify that on July 17, 2025, I electronically filed the foregoing

Motion with the Clerk for the United States Court of Appeals for the District of

Columbia Circuit by using the CM/ECF system. A true and correct copy of this brief

has been served via the Court’s CM/ECF system on all counsel of record.

                                            /s/ Lee Gelernt
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                                            July 17, 2025
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